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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

  JOEL VANGHELUWE, ET AL.,
                                          §        2:18-cv-10542-LJM-EAS
              Plaintiffs,                 §
  v.                                      §        Hon. Laurie J. Michelson
                                          §
  GOTNEWS, LLC, ET AL.,                   §        Mag. Elizabeth A. Stafford
                                          §
              Defendants.                 §
                                          §

                ORDER ON STIPULATION OF DISMISSAL AS
                      TO GAVIN MCINNES ONLY

        After considering the stipulation of dismissal as to Gavin McInnes only, it is

hereby ORDERED, ADJUDGED and DECREED that all of Plaintiffs’ claims

against Gavin McInnes only in the above-captioned case are dismissed with

prejudice to refiling.

        All costs and attorneys’ fees are the responsibility of the party incurring

same.

                                                   s/Laurie J. Michelson
                                                   LAURIE J. MICHELSON
  Dated: July 23, 2018                             U.S. DISTRICT JUDGE




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